Case 2:04-CV-02616-SHI\/|-tmp Document 24 Filed 04/22/05 Page 1 of 5 Page|D 30

IN THE UNITED STATES DISTRICT COURT ,
FOR THE WESTERN DISTRICT OF TENNESSEE03
WESTERN DIVISION

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W.D UFYM,MEMWMS
RENATA sEIFERT and HoRsT sEIFERT,
Plainti£fs,
v. No. 04-2615 Ma/P

MUSA HOLDINGS, INC.; LASER VISION
INSTITUTE d/b/a LASIK VISION
INSTITUTE; and

DAVID S. MURPHY, M.D.,

Defendants.

 

ORDER ON DEFENDANT MUSA HOLDINGS, INC.'S MOTION TO DISMISS COUNT
I AND COUNT V OF COMPLAINT

 

Plaintiffs Renata Seifert and Horst Seifert (the “Seiferts”)
bring suit against the Defendants alleging five counts: l)
violation of the Tennessee Consumer Protection Act, T.C.A. § 47-18-
104 §§ seg;; 2) breach of contract; 3) fraud; 4) money had and
received; and 5) medical malpractice. (Compl. at IH 20-44.) Before
the court is defendant MUSA Holdings, lnc.’s (“MUSA”) “Motion to
Dismiss Count I and Count V of Complaint,” filed on November 12,
2004. The Seiferts filed a response on December 28, 2004. MUSA
filed a reply on January 5, 2005.

Renata Seifert alleges that she was injured during a LASIK
surgery procedure performed on November 25, 2002. The Seiferts

originally brought suit against LASIK Vision Institute in Case No.

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Case 2:04-CV-02616-SHI\/|-tmp Document 24 Filed 04/22/05 Page 2 of 5 Page|D 31

04-2336 (“the original suit”) filed in the Western District of
Tennessee on November 21, 2003. The Seiferts then filed a second
lawsuit, Case No. 04-2616 (“the second suit”), on August 6, 2004,
naming MUSA, among others, as a defendant. The original suit and
the second suit were consolidated on August 26, 2004.

MUSA states that the events giving rise to the Seiferts'
injuries occurred more than 20 months before the second suit, in
which MUSA is a defendant, was filed. Consequently, MUSA argues,
Counts l and 5 of the Seiferts' complaint must be dismissed because
they are subject to a one-year statute of limitations.1 The
Seiferts do not dispute MUSA's factual allegations but argue that
the addition of MUSA should relate back to the filing date of the
original suit under Fed. R. Civ. P. 15(c) which provides that under
certain circumstances amendments to pleadings may relate back to
the original filing date of the pleading.

Consolidation of cases in federal court is governed by Fed.
R. Civ. P. 42(a) which provides:

When actions involving a common question of law or fact

are pending before the court, it may' order‘ a joint

hearing or trial of any or all the matters in issue in

the actions; it may order the actions consolidated; and

it may make such orders concerning proceedings therein as

may tend to avoid unnecessary costs or delay.

“Cases consolidated under Rule 42(a), however, retain their

 

lCount 1, for violation of the Tennessee Consumer Protection Act, is
subject to a one-year statute of limitations under § T.C.A. 47-18-110. Count 5,
for medical malpractice, is subject to a one-year statute of limitations under
T.C.A. 29-26-116.

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Case 2:04-CV-O2616-SH|\/|-tmp Document 24 Filed 04/22/05 Page 3 of 5 Page|D 32

separate identity. And although consolidation is permitted as a
matter of convenience and economy in administration, it does not
merge the suits into a single cause, or change the rights of the
parties, or make those who are parties in one suit parties in
another. Therefore, it is the district court's responsibility to
ensure that parties are not prejudiced by consolidation.” Lewis v.
ACB Business Services, Inc., 135 F.3d 389, 412-13 (Gth Cir. 1998)
(internal quotes and citations omitted). Because consolidation of
two cases does not make parties to the second filed case parties to
the first case, the filing date of the Seiferts' claims against
MUSA do not relate back to the filing date of the original suit
because the two cases have been consolidated.

The Seiferts argue that the court should treat the
consolidation of the two cases as an amendment to the original suit
which relates back to the filing date of the original suit. Fed. R.
Civ. P. lS{c) allows an amendment to a complaint adding or changing
the name of a defendant to relate back to the complaint's original
filing date when:

the party to be brought in by amendment (A) has received

such notice of the institution of the action that the

party will not be prejudiced in maintaining a defense on

the merits, and (B) knew or should have known that, but

for a rnistake concerning the identity' of the proper
party, the action would have been brought against the

party.
Fed. R. Civ. P. l5(c)(3). Technically, Rule l5(c) does not apply to

the addition of MUSA as ea defendant in this case because the

Case 2:04-CV-O2616-SH|\/|-tmp Document 24 Filed 04/22/05 Page 4 of 5 Page|D 33

Seiferts’ have not filed a motion to amend the complaint in the
original suit. The court, however, declines to dismiss Counts l and
5 of the Complaint in the second suit because of this technicality.
Rather, the court will deem the Seiferts' to have filed a motion to
amend the complaint in the original suit to add MUSA, as a
defendant.

The parties have not briefed l) the issue of whether the court
should grant a motion by the Seiferts to add MUSA as a defendant in
the original suit; and 2) whether the addition of MUSA. as a
defendant in the original suit should relate back to the original
filing date. The parties are ordered to file pleadings within 30
days of the date of this order addressing these issues so that the
court can determine if MUSA should be added as a defendant in the
original suit relating back to the filing date of the original

suit.

So ordered this 145¥ day of April 2005.

dW/M`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

